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18                              UNITED STATES DISTRICT COURT
19                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
20 U.S. WECHAT USERS ALLIANCE,                    Case No. 3:20-cv-05910-LB
   CHIHUO INC., BRENT COULTER,
21 FANGYI DUAN, JINNENG BAO,
   ELAINE PENG, and XIAO ZHANG,                   DECLARATION OF WANNING SUN
22                                                IN SUPPORT OF PLAINTIFFS’
             Plaintiffs,
                                                  MOTION FOR PRELIMINARY
23       v.                                       INJUNCTION
24 DONALD J. TRUMP, in his official
   capacity as President of the United States,    Judge: Hon. Laurel Beeler
25 and WILBUR ROSS, in his official               Date: September 17, 2020
   capacity as Secretary of Commerce,             Time: 9:30 a.m.
26                                                Crtrm.: Remote
                 Defendants.
27                                                Trial Date:       None Set

28

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 1                 I, Wanning Sun, declare:
 2                 1.    I am a Professor of Media and Communication at the University of
 3 Technology Sydney (UTS), Australia. My curriculum vitae is attached hereto as Exhibit
 4 A. I have personal knowledge of the matters stated herein, and if called as a witness I
 5 could and would testify competently to them. I make this declaration in support of
 6 Plaintiffs’ Motion for a Preliminary Injunction.
 7                 2.    I am a Fellow of the Australian Academy of Humanities, and a member of
 8 the College of Experts of the Australian Research Council (2020–22). My research is at the
 9 intersection of anthropology and media studies, and I have a long-standing track record of
10 research on the changing nature and development of the everyday media and cultural
11 consumption practices of Chinese immigrants across the globe, having written and edited
12 three books on this topic since 2000. Over the past decade or so, I have conducted
13 investigations into how Mandarin-speaking, first generation immigrants from the People’s
14 Republic of China use social media in their everyday lives. I am currently contracted with
15 the international academic publisher Routledge to edit a scholarly manuscript on the topic
16 of WeChat and the Chinese diaspora. My other areas of research expertise include soft
17 power and public diplomacy. The following is a list of academically refereed books and
18 journal articles, policy papers, and other publications by me that testify to my standing as
19 an expert on WeChat:
20                 •     Sun, W. (2016). Chinese-language media in Australia: Developments,
                         challenges and opportunities (Research Report), September 8. Ultimo,
21
                         NSW: Australia–China Relations Institute.
22
                   •     Sun, W. (2019). China’s Vessel on the Voyage of Globalization: The soft
23                       power agenda and diasporic media responses. In J. Retis & R.
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                         Australia, 173(1), 22–35.
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28

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                        shows-chinese-migrants-dont-always-side-with-china-and-are-happy-to-
 6                      promote-australia-126677
 7                 •    Sun, W., & Sinclair, J. (Eds.). (2016). Media and communication in the
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 9                 •    Sun, W., & Yu, H. (2020). WeChatting the Australian election: Mandarin-
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                   •    https://theconversation.com/why-trumps-wechat-ban-does-not-make-sense-
12                      and-could-actually-cost-him-chinese-votes-144207

13                 •    https://theconversation.com/who-do-chinese-australian-voters-trust-for-their-
                        political-news-on-wechat-113927
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15                 •    https://theconversation.com/chinese-social-media-platform-wechat-could-be-
                        a-key-battleground-in-the-federal-election-113925
16
                   •    https://theconversation.com/how-australias-mandarin-speakers-get-their-
17
                        news-106917
18
                   •    https://www.scmp.com/podcasts/inside-china/3097760/explaining-wechat-
19                      chinas-super-app-donald-trump-wants-banned
20                 3.   I have been asked to provide my expert opinion regarding the importance of
21 WeChat to the Chinese-American community, and the lack of viable substitutes if WeChat
22 is banned.
23                 4.   In order to prepare this declaration, I have reviewed the following materials:
24                 •    Alonso, A., & Oriarzabal, P. (Eds). (2010). Diasporas in the new media age:
25                      Identity, politics and community. Reno, NV: University of Nevada Press.

26                 •    Borak, M. (2018). WeChat is suspending one of its popular features because
                        people are using it to sell porn. Tech in Asia, December 6. Retrieved from
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                   •   Huang, E., & Lahiri, T. (2019). Right-wing “fake news” circulates on
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21                     WeChat’s Chinese censorship apparatus (Citizen Lab Research Report No.
                       127), May 7. Toronto, Canada: University of Toronto. Retrieved from
22                     https://citizenlab.ca/2020/05/we-chat-they-watch/
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                   •   Knockel J., & Xiong, R. (2019). (Can’t) picture this 2: An analysis of
24                     WeChat’s realtime image filtering in chats (Citizen Lab Report No. 122),
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27                 •   Koreshkova, Y. O. (2018). WeChat as a lifestyle: Social network tool of the
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                   •   Sosnovskikh, S. (2020). A new form of parallel trading within economics
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                       Retis & R. Tsagarousianou (Eds.), The handbook of diasporas, media, and
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                       culture (pp. 165–178). Hoboken, NJ: Wiley-Blackwell.
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                       Media International Australia, 173(1), 22–35.
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 9                 •   Sun, W. [Wanning]. (2019c). Is there a problem with… WeChat? China
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16                     Routledge.
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                   •   Sun, W. [Wanning], & Yu, H. (2020). WeChatting the Australian election:
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                        need-to-know-88787
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12                 •    Zhang, C. (2018b). WeChatting American politics: Misinformation,
                        polarization, and immigrant Chinese media. Columbia Journalism Review,
13                      April 19. Retrieved from
14                      https://www.cjr.org/tow_center_reports/wechatting-american-politics-
                        misinformation-polarization-and-immigrant-chinese-media.php
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                   •    Zhang, G., & Wang, W. Y. (2019). “Property talk” among Chinese
16                      Australians: WeChat and the production of diasporic space. Media
17                      International Australia, 173(1): 53–65.

18                 5.   My opinions set forth below are based upon the documents and other

19 evidence listed above, and on my professional knowledge and experience working, inter
20 alia, as a scholarly researcher and writer on global Chinese immigrants’ use of WeChat
21 and other social media platforms. In particular, my most recent research draws on three
22 empirical sources: (1) two large-scale online surveys of WeChat users; (2) sustained digital
23 ethnographic observation of and interaction with numerous WeChat groups and
24 individuals; and (3) in-depth one-on-one interviews with regular WeChat users. The
25 surveys were used to contextualize my research, providing a useful sense of the general
26 patterns of digital practices within both WeChat and other digital social media ecosystems.
27                 6.   Building on my findings in relation to these general patterns, I adopted

28 participatory digital ethnographic methods over five months in 2019, which allowed me

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 1 and my research team to make a sustained collection of digital data from various chat
 2 groups, to ascertain significant trends and topics within those discussions, and to identify
 3 their key opinion leaders. The semi-structured one-on-one interviews enabled us to zoom
 4 in close and engage in a more in-depth analysis of the online behavior and discourses
 5 engaged in by selected figures in WeChat groups and, where relevant, other non-Chinese
 6 social media platforms.
 7                 7.    The first of our two surveys was conducted in September 2018 among
 8 Mandarin-speaking migrants from the People’s Republic of China, investigating their
 9 media access and usage patterns. It was conducted using a convenience sample
10 (participants were recruited largely from the social media platforms WeChat and
11 Facebook) of 646 individuals, of whom 528 completed all key questions. The majority of
12 our respondents were Australian permanent residents or naturalized Australian citizens
13 (over 90%), with an undergraduate degree or higher (85%), and employed (over 70%).
14                 8.    The second survey, which was conducted in February 2019 using the same
15 methodology, recruited 927 Mandarin-speaking migrants, with 786 respondents
16 completing all key questions. The main focus of this survey was on participants’ media
17 and news access and consumption habits and preferred platforms or sources. The majority
18 of respondents again were either Australian citizens (over 36%) or Australian permanent
19 residents (over 31%), under 55 years old (89%), with an undergraduate degree or higher
20 (87%), having adequate English proficiency (93%), employed (71%, full-time and part-
21 time combined), and female (60%).
22                 9.    In addition to these surveys, over the past three years I have adopted the
23 methodology of digital ethnography to undertake participant observation in more than 40
24 WeChat groups, most of which have members from all over the world, including the
25 United States.
26                 10.   Finally, using my own methodology of time-lapse ethnography, I have
27 conducted repeated in-depth, one-on-one interviews with more than 10 individuals in the
28 United States, Australia, and other parts of the world. These interviews each lasted up to

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 1 one hour, with a focus on patterns and changes in participants’ media habits, their views on
 2 the roles they play in chat groups, and the roles WeChat plays in their everyday lives.
 3                 11.   Based upon the documents and information I have reviewed, I am able to
 4 offer the following opinion:
 5                                      STATEMENT OF OPINION
 6 It is not only culturally difficult but also practically unviable for Chinese Americans
   to switch to other social media platforms, should WeChat be banned.
 7
 8         12.    Like Chinese-speaking immigrants all over the world, the Chinese-American

 9 community has changed dramatically in terms of its size and demographic composition.
10 This is mainly due to two factors: (1) large-scale outbound permanent migration from the
11 People’s Republic of China (PRC) to the United States; and (2) the exponential growth of
12 mainland Chinese people now living in or visiting the United States due to its growing
13 interface with China across a wide range of domains, including trade, business, resources,
14 property investment, education, and tourism. The informational needs of these various
15 mobile cohorts – international students, tourists, permanent residents, and naturalized
16 American citizens – are diverse and often location-specific. But they are united by two
17 commonalities: (1) they desire to stay connected with family and friends in China, with
18 Mandarin-speaking immigrant communities within the United States, and with other
19 Chinese immigrant communities across the globe; and (2) they overwhelmingly prefer
20 WeChat over other social media platforms to conduct business, maintain everyday
21 connections, and access the Chinese-language news, information, and shared wisdom of
22 fellow Chinese Americans that is crucial to their practical and cultural well-being in their
23 adopted country.
24       13.    WeChat was developed by the Chinese super-tech company Tencent, and

25 launched in January 2011. Tencent is the same company that developed and owns QQ, a
26 Chinese social media platform that predates WeChat. While QQ is still used by some
27 segments of the Chinese population in China, it has largely been superseded by WeChat,
28 especially among Chinese immigrant communities outside China, because of WeChat’s

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 1 vastly enhanced usability and range of functions. By 2018 WeChat had garnered over a
 2 billion active monthly users, more than 100 million of whom were outside China. As of
 3 August 2020, there are more than 1.2 billion active WeChat messenger accounts
 4 worldwide. WeChat is thus central to the interpersonal and public communication practices
 5 of Chinese migrants, both in the United States and across the globe, so much so that it is
 6 very difficult to imagine what their everyday communication would be like without the
 7 platform. Some users compare WeChat to the ‘air’ they breathe; others use the metaphor of
 8 ‘losing a limb’ if WeChat were no longer to be available.
 9                 14.   Two decisive points are noteworthy in order to understand why banning
10 WeChat would be likely to pose significant difficulties and obstacles in the business
11 viability and everyday lives of Chinese Americans and Chinese visitors to the United
12 States. First, almost all new Chinese immigrants who have come to the United States since
13 2011 are WeChat users who brought their accounts with them from China. This means
14 that, in order to maintain the networks they had built prior to immigration, these
15 individuals need to continue using WeChat rather than mainstream Western social media
16 platforms such as Facebook, WhatsApp, and Twitter, because all of these platforms – and
17 several others – are banned in China. Switching to such platforms is not an option, given
18 that maintaining close connections with family and friends back in China has become an
19 essential part of their identity as Chinese-American citizens. Although they may be free to
20 take up Western social media platforms in addition to WeChat, the former can by no
21 means substitute for WeChat.
22                 15.   Second, those Chinese immigrants who migrated to the United States prior to
23 the launch of WeChat in 2011 also favor WeChat over other globally adopted social media
24 platforms such as Facebook and Twitter. This is for a number of reasons, including
25 language proficiency, cultural resonance, and networking considerations – the need to
26 maintain an interface with China by adopting a platform that is also legally available to
27 and used by their family and friends in China. As a predominantly Chinese-language users’
28 platform, WeChat gives Chinese-American citizens and other users access to Chinese-

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 1 language news and information that is otherwise unavailable. My research also suggests
 2 that Chinese immigrants are more likely to access the content of English-language
 3 mainstream media if it is posted on WeChat, either in its original form, translated, or
 4 summarized.
 5                 16.   Also, WeChat combines many of the functions of Facebook, Twitter,
 6 WhatsApp, Instagram, and PayPal, with additional e-payment, e-commerce, and e-lifestyle
 7 features. It has been called a ‘super-sticky’ all-in-one app and mega platform, and a digital
 8 ‘Swiss army knife’ for modern life. A platform that is extremely agile, versatile, and
 9 resourceful, WeChat comes with many features that resonate with traditional Chinese
10 practices, such as sending monetary gifts (‘red envelopes’) to friends electronically.
11                 17.   The arrival of WeChat revolutionized the ways in which Chinese people
12 socialize, conduct business and work, and partake in consumption. Not only is WeChat
13 important to individual users in their everyday communication with families, relatives, and
14 friends, but it also enables them to connect personally and professionally with other
15 members of Chinese communities back in China and around the world. WeChat users can
16 join myriad WeChat discussion groups, with each such group allowed no more than 500
17 people. These semi-private forums allow Chinese-American users to both maintain and
18 grow their existing networks in relation to their line of business, professional activities,
19 political interests, and place of origin. As a result, the networks that have been established
20 and grown within WeChat, as well as the business platforms that are either provided by
21 WeChat or allowed to operate within its ecosystem, are thus essential underpinnings to the
22 survival and success of Chinese-American businesses.
23                 18.   WeChat is pivotal to the everyday media and cultural lives of Chinese-
24 American citizens. Given that a significant proportion of the PRC migrants now living in
25 the United States do not have adequate English language proficiency, accessing news and
26 information provided by Chinese-language community media in the United States is vital
27 to their identity and well-being in their host country.
28

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 1                 19.   As WeChat has emerged as the omnipresent and omnipotent platform in
 2 Chinese lives, WeChat Subscription Accounts (WSAs) have become critical sources of
 3 news and information, primarily because the majority of digital Chinese-language media
 4 and content providers in the United States adopt WSAs as their primary platform for
 5 delivering content to WeChat users. This is because WSAs are easy to set up and operate,
 6 and they have been widely adopted by content providers’ target audiences.
 7                 20.   WSAs have changed how Chinese make, circulate, and access news and
 8 information since their introduction in 2013. WeChat offers three kinds of official
 9 accounts, of which the WSA (dingyuehao 订阅号) is the best-known among everyday
10 users. WSAs are favored mostly by individuals, companies, institutions, and media
11 organizations that want a news-pushing or content-sharing platform to connect with and
12 post news items to their subscribers frequently – they are permitted to push between one
13 and eight articles per day, provided they post all articles simultaneously on that day.
14                 21.   WSA posts are nested inside a folder, and hence have lower visibility than
15 the second kind of official account –WeChat Service Accounts (fuwuhao 服务号) – whose
16 posts appear in the same way as posts by one’s friends or friends’ groups. Service
17 Accounts are used primarily by corporates and organizations as a service platform for
18 connecting with customers and enabling e-commerce-related functions, with only four
19 messages per month being allowed on each account.
20                 22.   The third kind of official account, WeChat Enterprise Accounts (qiyehao企
21 业号), are mainly used for corporate internal communication and management, like
22 Facebook’s Workplace.
23                 23.   Individuals can apply for a basic WSA with a Chinese ID card, free of
24 charge. In order to enjoy advanced functions, such as e-payment, geo-location, and
25 advertisement banners, a WSA needs to be verified by WeChat administrators, with an
26 account verification fee of RMB300 per year for a Chinese domestic account, or US$99
27 per year for an overseas account.
28

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 1                 24.   There are several ways to make money through WSAs, and account owners
 2 use a combination of revenue generating mechanisms to attract as many readers and clicks
 3 as possible. The first strategy is to become a ‘traffic master’: any WSA with a minimum of
 4 500 followers can apply to be a traffic master, and get paid based on a per-view and per-
 5 complete-view basis, as well as per-click on the advertisements that are automatically
 6 added by WeChat below each article. The second way of earning money is through
 7 advertisements embedded within the WSA feed. The fees are negotiated between
 8 advertisers and WSA owners, with each advertisement costing from several hundred to
 9 several thousand RMB (US$ 1 ≈ RMB 7). The ads are inserted multiple times into an
10 article or run as a banner within the subscription account, and they are rewarded through a
11 cost-per-read/click arrangement, generating RMB 0.3–0.6 per read or click. The third
12 method is through soft-sell advertising or infomercials, often in the form of news and
13 information, with a clickbait title and a good storyline selling a product, service, or event,
14 negotiated between WSA owners and advertisers or sponsors with a higher price tag,
15 ranging from RMB 500–500,000 per piece, depending on the popularity of the WSA
16 (based on its number of followers and average reads per article). The fourth money-making
17 possibility is by offering loyal followers members-only subscriptions to premium content
18 or training programs, at a cost of RMB 50–1,599 per course or annual subscription. Fifth,
19 through the ‘Thank Writer’ function, readers can pay/tip directly into the writer’s WeChat
20 Wallet to express their appreciation of the writer’s content. Sixth, the WSA can be linked
21 through WeChat Pay to sell products or services directly to subscribers. Seventh, money
22 can be made by hosting artistic, cultural, and integrated marketing events. Finally, there is
23 the option of attracting investment from venture capitalists.
24                 25.   A WeChat user who subscribes to a WSA receives notifications
25 automatically, and can subsequently re-post WSA articles to everyone in their WeChat
26 Groups, and on Moments. The user-friendly nature of the WeChat app and the capacity for
27 infinite reproduction of content through reposting ensures that, if they are smart in their
28 use of the platform, such online media outlets can maximize their reach, profit, and impact.

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 1 Among the most popular US-based websites that use WSAs are Literature City
 2 (https://www.wenxuecity.com/), Creaders (https://www.creaders.net/), and College Daily
 3 (http://www.collegedaily.cn/). China-registered WSAs can reach as many readers as
 4 possible, irrespective of the nature of their accounts, either as Chinese users on ‘Weixin’
 5 (the Chinese version of WeChat) or as non-Chinese users on the international version.
 6                 26.   WSAs thus offer a viable and dynamic business opportunity to a new
 7 generation of independent bloggers and digital entrepreneurs to make a profit through
 8 content production. Most US-focused WSAs have created a (so far) sustainable business
 9 model through content/information production and circulation, and have become a vibrant
10 and essential part of the business ecosystem of their owners.
11                 27.   As a part of the WeChat infrastructure, WSAs have become a platform of
12 their own, influencing the ways people connect, obtain their news, share information, and
13 market products and services. They are part of Tencent’s ‘platform bundling’ and global
14 expansion strategy, highlighting how digital entrepreneurs of Chinese background in the
15 United States capitalize on the WeChat ecosystem to better serve the information needs of
16 Chinese-American communities. As a platform within the wider architecture of WeChat,
17 WSAs serve as a new kind of ‘firm’ – an intermediary that brings together customers,
18 advertisers, service providers, producers, suppliers, and physical objects. Importantly, the
19 different users brought together by US-focused WSAs are not only Chinese speakers and
20 businesses, but also local US businesses, corporate entities, and public bodies.
21                 28.   The indispensable role played by WeChat in enabling Chinese immigrants in
22 the United States to stay connected with their families ‘back home’ becomes particularly
23 important at a time when national borders are mostly closed, and transnational mobility is
24 significantly reduced between the United States and China. Additionally, daily private
25 communication via WeChat’s ‘Chat’ function with like-minded friends who share the
26 experience of being a PRC migrant helps shape these users’ sense of belonging to a unique
27 sub-class of US citizens – Chinese Americans – and assists individuals in coping with the
28 challenges of being new or different in their adopted country. Often wedged between

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 1 China and the United States because of high-level political differences that have little if
 2 anything to do with their own lives, Chinese immigrants regularly take to sharing their
 3 concerns and difficulties by posting via WeChat’s ‘Moments’ function. And within
 4 WeChat ‘Groups’, individuals frequently share information and debate on topics and issues
 5 of particular concern to their lives as immigrants.
 6                 29.   Significantly, WeChat plays an increasingly important role in Chinese
 7 immigrants’ political integration within their host country. Research has shown that
 8 WeChat became a major political platform for debating political issues and advocating for
 9 specific agendas during the current and previous presidential election campaigns. In
10 particular, it was effectively used to garner support for President Trump among
11 conservative and far-right Chinese-American voters during the 2016 presidential
12 campaign. WeChat enabled conservative voices to amplify their volume and reach,
13 especially on a range of hot-button issues such as that of undocumented immigration. In
14 fact, some researchers argue that WeChat has played a significant role in the overall rise of
15 conservatism and political polarization in the Chinese-American community.
16                 30.   There are a number of influential conservative WSAs in the US, including
17 Voice of North American Chinese (VNAC), Civil Rights, Voice of Chinese Americans
18 (VCA), and recently North American Conservative. By contrast, there are several less
19 popular left-leaning accounts that include the NoMelonGroup, Anti-Rumor, and an
20 account called simply Chinese Americans. Collectively, conservative content is ‘leading
21 the scoreboard in volume and reach, as well as [being] narrower and more aggressive in its
22 ideological expression’ (Zhang, 2018b). In short, President Trump has a lot be thankful for
23 when it comes to WeChat. It is quite possible the ban has the potential to alienate some of
24 his strongest supporters – an outcome that Mr. Trump may not have anticipated when he
25 announced the ban.
26                 31.   In recent years, WeChat has also presented itself as an increasingly vital
27 space for broad civic engagement and civic dialogue within Chinese-American
28 communities. During the Black Lives Matter (BLM) protests, for instance, Yale student

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 1 Eileen Huang published an open letter on WeChat, addressed to Chinese Americans of her
 2 parents’ generation. Huang noted how Chinese-Americans have long-held and deep-seated
 3 prejudices against African Americans and other people of color, and she called on them to
 4 pledge their solidarity with BLM to fight racism. Huang’s letter drew widespread criticism,
 5 including, most prominently, from someone who identified himself as Ling Fei, who wrote
 6 another open letter addressing Huang as a ‘child’ who had been ‘brainwashed by the
 7 lefties’, implying that Huang was simply toeing a ‘politically correct’ line in suggesting
 8 that African Americans would side with the views of Asian minorities. Within a week, the
 9 two letters were shared widely on WeChat, precipitating more open letters between
10 younger Chinese students at Ivy League universities and older Chinese Americans. These
11 debates within Chinese-American communities that were enabled by WeChat are of high
12 significance culturally and socially. Banning WeChat would spell the end of a platform
13 that has begun to flourish as a forum for healthy public debate and useful civic education
14 and engagement in the United States, as well as among the rest of the Chinese diaspora. As
15 a result, WeChat has the potential to facilitate dialogue and debate within the Chinese-
16 American community, given its demonstrated usefulness as a platform for different
17 generations of Chinese Americans to engage in civic dialogue and debate on issues of race,
18 gender, religion, and politics.
19                 32.   WeChat’s exceptionally high level of convenience as a defining consequence
20 of its technical affordances has ensured that most, if not all, Chinese immigrants with a
21 PRC background now living in the United States prefer this social media platform. Other
22 social media cannot replace WeChat, because (1) they do not offer the much-needed
23 cultural and practical interface with China; (2) they require a very different set of cultural
24 practices, digital skills, language competence, and user habits; and (3) they are more likely
25 to be culturally alienating than culturally enabling.
26                 33.   WeChat has become such an integral part of Chinese immigrants’ lifestyle
27 that Chinese-American communities and Chinese students studying in the United States
28 have responded to news of the ban with a mixture of confusion, anxiety, fear, and even

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Summary
Professor Wanning Sun is a Fellow of Australian Academy of Humanities (FAHA). She is a
member of the College of Experts, Australian Research Council (2020-2022). From 2005-
2006, Wanning Sun was the Freeman Foundation Visiting Professor at the State University of
New York, Binghamton. Professor Sun is a leading international scholar on soft power, public
diplomacy, and Chinese immigrant media. She is on the advisory boards of two China-related
think-tanks in Australia: China Matters and the Australia-China Relations Institute.
Professor Sun has spearheaded diasporic Chinese media as a field of scholarly research, and
she is also known for her work on rural to urban migration and social change in
contemporary China. Wanning is the author of a major report, Chinese-Language Media in
Australia: Developments, Challenges and Opportunities (2016). She is currently leading an
Australian Research Council Discovery Project, ‘Chinese-Language Digital/Social Media in
Australia: Rethinking Soft Power’ (2018-2020).

Current Position
Professor of Media and Communication, School of Communication, Faculty of Arts and Social
Sciences, University of Technology Sydney (UTS).

Professional Experience
More than two decades’ experience in teaching and academic research in the areas of
media, communication, and China studies in the university sector in China, the United
States, and Australia.

Qualifications
PhD in Media and Cultural Studies, University of Western Sydney, Nepean, 1997

Editorial Boards
   •   Member of Editorial Board, Continuum: Journal of Media and Cultural Studies
       (current)
   •   Member of Editorial Board, Communication, Culture & Critique (current)
   •   Member of Editorial Board, Communication and the Public (current)
   •   Member of Editorial Board, The China Journal (current)




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Research Grants
   •   ARC Discovery Grant: ‘Chinese-language digital/social media in Australia: Rethinking
       soft power’ (with H. Yu) (2018–2020)
   •   ARC Discovery Grant: ‘Inequality in love: Romance and intimacy among China’s young
       rural migrant workers’ (2015–2017)
   •   ARC Discovery Grant: ‘China’s rural migrant workers: Social transition and cultural
       practices’ (2010–1012)
   •   ARC Discovery Grant: ‘The role of lifestyle television in transforming culture,
       citizenship and selfhood: Australia, China, Taiwan, Singapore and India’ (with F.
       Martin, T. Lewis, R. Harindranath, and J. G. Sinclair) (2010–2013)
   •   Contracted research for industry partners: ‘Methods of listening to radio among
       Chinese youth’
   •   ARC Cultural Research Network Project (I was one of 50 network participants) (2004–
       2009)
   •   ARC Discovery Grant: ‘Maid in China: Internal migration and translocal imagination’
       2004–2007)

Selection of Relevant Books
   •   Love Stories in Contemporary China: The Cultural Politics of Intimacy, with Ling Yang,
       London: Routledge, 2019. (edited volume)
   •   Telemodernities: Lifestyle television and Transforming Lives in Asia, with Tania Lewis
       and Fran Martin, Durham, NC: Duke University Press, 2016. (co-authored book)
   •   Media and Communication in the Chinese Diaspora: Rethinking Transnationalism,
       with John Sinclair, London: Routledge, 2016. (edited volume)
   •   Unequal China: The Political Economy and Cultural Politics of Inequality, with Yingjie
       Guo, London: Routledge, 2013. (edited volume)
   •   Mapping Media in China: Region, Province, Locality, with Jenny Chio, London,
       Routledge, 2013. (edited volume)
   •   Subaltern China: Rural Migrants, Media and Cultural Practices, Lanham, MD:
       Rowman and Littlefield, 2014. (single-authored book)
   •   Media in China: Key Concepts and Critical Analyses (four volumes), with Michael
       Keane, London: Routledge, 2013. (edited volume)
   •   Media and the Chinese Diaspora: Community, Communication, and Commerce,
       London: Routledge, 2006. (edited volume)
   •   Leaving China: Media, Migration and Transnational Imagination, Lanham, MD:
       Rowman & Littlefield, 2002. (single-authored book)




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Selection of Academically Refereed Research Papers on WeChat
•   Sun, W & Yu, H 2020, ‘WeChatting the Australian Election: Mandarin-Speaking Migrants
    and the Teaching of New Citizenship Practices’, Social Media + Society, vol. 6, no. 1.
•   Yu, H & Sun, W 2020, ‘WeChat Subscription Accounts (WSAs) in Australia: A Political
    Economy Account of Chinese-language Digital/Social Media’, Media International
    Australia, .
•   Sun, W 2019, ‘Chinese-language Digital/Social Media in Australia: Double-edged Sword in
    Australia’s Public Diplomacy Agenda’, Media International Australia, vol. 173, no. 1.


Recent Media Appearances Speaking about WeChat and Chinese Americans
    •   Is There a Problem with WeChat? (Policy Brief) http://chinamatters.org.au/policy-
        brief/policy-brief-april-edition/

    •   https://theconversation.com/why-trumps-wechat-ban-does-not-make-sense-and-
        could-actually-cost-him-chinese-votes-144207

    •   https://www.scmp.com/podcasts/inside-china/3097760/explaining-wechat-chinas-
        super-app-donald-trump-wants-banned




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